         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 1 of 35




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
MICHELE SILVERMAN BEDELL, Individually and On
Behalf of All Others Similarly Situated,

                                      Plaintiff,
               -against-

BLACKBAUD, INC.,

                              Defendant.
_________________________________________________


                                CLASS ACTION COMPLAINT

       Plaintiff, MICHELE SILVERMAN BEDELL, individually and on behalf of all others

similarly situated, makes the following allegations upon information and belief, except as to her

own actions, the investigation of her counsel, and the facts that are a matter of public record.

1.     Plaintiff brings this action against BLACKBAUD, INC. (“BLACKBAUD”) to obtain

damages, restitution, and injunctive relief for the Class, as defined below.

                                  NATURE OF THE ACTION

2.     BLACKBAUD is a third-party vendor that provides The Mount Sinai Health System,

Inc., (“SINAI”) with cloud -based and data solution services related to SINAI’s fundraising

activities. This class action arises out of the May of 2020, ransomware attack and data breach

(“Data Breach”) of BLACKBAUD’s systems between February 7 and May 20, 2020, during

which hackers acquired a database that manages SINAI’S fundraising information. The

BLACKBAUD data and servers breached contained identifying, sensitive, and Private

Information and personal data from donors, including Plaintiff’s. As a result of the Data Breach,

Plaintiff and thousands of other Class Member users suffered ascertainable losses in the form of
          Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 2 of 35




out-of-pocket expenses and the value of their time reasonably incurred to remedy or mitigate the

effects of the attack.

3.      Additionally, Plaintiff and Class Members’ sensitive Private Information, which was

entrusted to BLACKBAUD, its officials and agents, was compromised and unlawfully accessed

due to the Data Breach. Information compromised in the Data Breach included a copy of a subset

of information retained by Blackbaud, including donor/patient’s name, age , gender, date of

birth, address/contact information, telephone numbers, email addresses, medical record numbers,

attending doctors, healthcare provider names, name of practices where healthcare services were

received, events attended and contribution information.

4.      A true and accurate copy of the notice of data breach, dated September 11, 2020. mailed

by SINAI to Plaintiff is attached hereto as Exhibit A.

5.      Plaintiff brings this class action lawsuit on behalf of those similarly situated, in order to

address Defendant’s joint (a) legally deficient safeguarding of Class Members’ Private

Information, which it managed, maintained, and secured; (b) failure to provide timely and

adequate notice to Plaintiff and other Class Members that their information had been subject to

the unauthorized access of an unknown third-party; (c) failure to identify all information that

was accessed and (d) failure to provide Plaintiff and Class Members with any redress for the

Data Breach.

                                              PARTIES

6.      Plaintiff is a resident and citizen of Scarsdale, Westchester County, New York 10583.

Plaintiff has been a patient of and donor to SINAI.

7.      BLACKBAUD is a Delaware corporation with its principal place of business located on

Daniel Island, Charleston County, South Carolina.
            Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 3 of 35




                                 JURISDICTION AND VENUE

8.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one

member of the Class, as defined below, is a citizen of a different state than Defendant, there are

more than 100 members of the Class, and the aggregate amount in controversy exceeds

$5,000,000 exclusive of interest and costs.

9.      This Court has personal jurisdiction over this action because Defendant has sufficient

minimum contacts with this District and has purposefully availed itself of the privilege of doing

business in this District such that it could reasonably foresee litigation being brought in this

District.

10.     Venue is proper in this District under 28 U.S.C. §1391(b)(2) because a substantial part of

the events or omissions giving rise to the claim occurred in this District.

                                    FACTUAL STATEMENT

A.      BLACKBAUD’s Business

11.     BLACKBAUD holds itself out as the world’s leading cloud software company, providing

its clients with cloud software, services, expertise, and data intelligence. It is a publicly traded

company with clients that include nonprofits, foundations, corporations, education institutions,

healthcare institutions, and the individual change agents who support them.

12.     In 2019, BLACKBAUD reported that it had “45,000 customers located in over 100

countries,” with a “total addressable market (TAM)… greater than $10 billion.”

13.     BLACKBAUD manages, maintains, and provides cybersecurity for the data obtained by

its clients who are, inter alia, schools and non-profit companies, including SINAI, which

maintained Plaintiff’s Private Information.
          Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 4 of 35




14.    SINAI is a domestic not-for-profit corporation, duly organized and existing under the

laws of New York, with offices at One Gustave L. Levy Place, New York, New York, 10029. It

is the ultimate parent of an integrated health care system encompassing the Icahn School of

Medicine and eight hospital campuses in the New York metropolitan area.

15.    In the ordinary course of doing business, SINAI was required to provide BLACKBAUD

with sensitive, personal, and private information of its donor/patients, including Plaintiff, that

was then stored, maintained, and secured by BLACKBAUD. This information included:

•      Name, address, phone number and email address.
•      Date of birth.
•      Demographic information.
•      Social Security numbers.
•      Credit card account numbers.
•      Medical insurance accounts.
•      Healthcare information.
•       Healthcare provider information
16.    In its 2019 Annual Report, BLACKBAUD specifically addressed its known susceptibility

to cyberattacks. The report states, in pertinent part:

       If the security of our software is breached, we fail to securely collect, store and transmit
       customer information, or we fail to safeguard confidential donor data, we could be
       exposed to liability, litigation, penalties and remedial costs and our reputation and
       business could suffer.

       Fundamental to the use of our solutions is the secure collection, storage and transmission
       of confidential donor and end user data and transaction data, including in our payment
       services. Despite the network and application security, internal control measures, and
       physical security procedures we employ to safeguard our systems, we may still be
       vulnerable to a security breach, intrusion, loss or theft of confidential donor data and
       transaction data, which may harm our business, reputation and future financial results.


https://investor.blackbaud.com/static-files/9cd70119-4e13-4d47-b068-3c228c580417 (Accessed
August 12, 2020).
           Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 5 of 35




17.    BLACKBAUD’S Privacy Policy North America (“Privacy Policy”) expressly applies as
follows:
       At Blackbaud, we are committed to protecting your privacy. This Policy applies to
       Blackbaud’s collection and use of personal data in connection with our marketing and
       provision of the Blackbaud Solutions, customer support and other services (collectively,
       the “Services”), for example if you are a customer, visit the website, interact with us at
       industry conferences, or work for a current or prospective customer of the Services.
       If you are a constituent, supporter, patient, or student of one of our customers, to which
       we provide the Services, your data will be used in accordance with that customer’s
       privacy policy. In providing the Services, Blackbaud acts as a service provider and thus,
       this Policy will not apply to constituents of our customers.
https://www.blackbaud.com/company/privacy-policy/north-america (Accessed August 12,
2020).


18.    With regard to securing its constituents, including SINAI, BLACKBAUD makes the

following representations with regard to the security of personal information:

       We restrict access to personal information collected about you at our website to our
       employees, our affiliates’ employees, those who are otherwise specified in this Policy or
       others who need to know that information to provide the Services to you or in the course
       of conducting our business operations or activities. While no website can guarantee
       exhaustive security, we maintain appropriate physical, electronic, and procedural
       safeguards to protect your personal information collected via the website. We protect our
       databases with various physical, technical, and procedural measures and we restrict
       access to your information by unauthorized persons.
       We also advise all Blackbaud employees about their responsibility to protect customer
       data and we provide them with appropriate guidelines for adhering to our company’s
       business ethics standards and confidentiality policies. Inside Blackbaud, data is stored in
       password-controlled servers with limited access.
https://www.blackbaud.com/company/privacy-policy/north-america (Accessed August 12,
2020).
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 6 of 35




19.    In connection with SINAI and its patients, BLACKBAUD had additional obligations to

secure patient users’ Private Information to comply with the mandates of the Health Information

Portability and Accountability Act (HIPAA).

B.     Data Breaches Put Consumers at an Increased Risk of Fraud and Identify Theft

20.    Cyberattacks and data breaches of medical facilities, schools, and non-profit entities are

especially problematic because of the disruption they cause to the overall daily lives of patients,

students, donors, and other individuals affected by the attack.

21.     The United States Government Accountability Office released a report in 2007 regarding

data breaches (“GOA Report”) finding that victims of identity theft will face “substantial costs

and time to repair the damage to their good name and credit record.”

https://www.gao.gov/new.items/d07737.pdf

22.    There may be a substantial time lag, measured in years, between when harm occurs

versus when it is discovered, and between when Private Information and/or financial information

is stolen and when it is used. According to the U.S. Government Accountability Office, which

conducted a study regarding data breaches:

      [L]law enforcement officials told us that in some cases, stolen data may be held for up to
      a year or more before being used to commit identity theft. Further, once stolen data have
      been sold or posted on the Web, fraudulent use of that information may continue for
      years. As a result, studies that attempt to measure the harm resulting from data breaches
      cannot necessarily rule out all future harm.
See GAO Report, at p. 29.

23.     The FTC recommends that identity theft victims take several steps to protect their

personal and financial information after a data breach, including contacting one of the credit

bureaus to place a fraud alert (consider an extended fraud alert that lasts for seven years if

someone steals their identity), reviewing their credit reports, contacting companies to remove
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 7 of 35




fraudulent charges from their accounts, placing a credit freeze on their credit, and correcting their

credit reports. https://www.identitytheft.gov/Steps

C.     The Cyberattack and Data Breach

24.    BLACKBAUD maintained Plaintiff and Class Members’ Private Information on a shared

network, server, and/or software. Despite its own awareness of steady increases of cyberattacks

on health care, schools, and other facilities over the course of recent years, BLACKBAUD did

not maintain adequate security of Plaintiff and Class Members’ data, to protect against hackers

and cyberattacks.

25.    According to its own statements, in May of 2020, BLACKBAUD discovered a

ransomware attack that attempted to “disrupt business by locking companies out of their own

data and servers.”

https://www.blackbaud.com/securityincident (Accessed August 12, 2020).

26.    According to BLACKBAUD’S statements:

       After discovering the attack, our Cyber Security team—together with independent
       forensics experts and law enforcement—successfully prevented the cybercriminal from
       blocking our system access and fully encrypting files; and ultimately expelled them from
       our system. Prior to our locking the cybercriminal out, the cybercriminal removed a copy
       of a subset of data from our self-hosted environment. The cybercriminal did not access
       credit card information, bank account information, or social security numbers. Because
       protecting our customers’ data is our top priority, we paid the cybercriminal’s demand
       with confirmation that the copy they removed had been destroyed. Based on the nature of
       the incident, our research, and third party (including law enforcement) investigation, we
       have no reason to believe that any data went beyond the cybercriminal, was or will be
       misused; or will be disseminated or otherwise made available publicly… The subset of
       customers who were part of this incident have been notified and supplied with additional
       information and resources. We apologize that this happened and will continue to do our
       very best to supply help and support as we and our customers jointly navigate this
       cybercrime incident.
https://www.blackbaud.com/securityincident (Accessed August 12, 2020).
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 8 of 35




27.     Upon information and belief, the ransomware attack began in February of 2020 and

continued for approximately three months until it was stopped in May of 2020.

28.    BLACKBAUD did not have a sufficient process or policies in place to prevent such

cyberattack, which is evident by its own statements that it has “already implemented changes to

prevent this specific issue from happening again.”

https://www.blackbaud.com/securityincident (Accessed August 12, 2020).

29.    Despite having knowledge of the attack since at least May of 2020, BLACKBAUD did

not notify SINAI until July 16, 2020 of the potentially compromised data.

30.    BLACKBAUD had obligations created by federal law, contracts, industry standards,

common law, and privacy representations made to Plaintiff and Class Members, to keep their

Private Information confidential and to protect it from unauthorized access and disclosure.

31.    Plaintiff and Class Members provided their Private Information to SINAI and

BLACKBAUD with the reasonable expectation and mutual understanding that both entities

would comply with their obligations to keep such Private Information confidential and secure

from unauthorized access.

32.    On September 11, 2020 SINAI advised Plaintiff:
       On July 16, 2020, Blackbaud informed us (and many other healthcare, academic and
       other nonprofit organizations) that an unauthorized individual had gained access to
       Blackbaud’s systems between February 7 and May 20,2020. Blackbaud advised us that
       the unauthorized individual may have acquired a backup of the database that manages our
       fundraising information.” [Exhibit A]
33.    SINAI’s notice further warned Plaintiff and Class members:
       The unauthorized individual may have had access to a file that contains various
       information on donors and potential donors. That information may have included your
       name, age, gender, date of birth, address(es), telephone number(s), email address(es) and
       medical record number. If you have not opted out of fundraising activities, the file also
       may have included a health provider’s name, the name of the Mount Sinai
       practice/location where you received services, and information about how the Mount
       Sinai Development Offices have interacted with you, such as events you have attended,
          Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 9 of 35




       comments you have shared regarding your experiences at Mount Sinai, and your
       contributions to Mount Sinai.
       [Exhibit A]
34.    Despite the representation that the data breach did not involve access to any SINAI

medical systems or electronic health records, SINAI provided the following warning in its breach

notification:

       We recommend that you review the statements that you receive from your healthcare
       providers. If you see a statement referring to services you did not receive, please contact
       the provider immediately.”
       [Exhibit A]
35.    While there is current uncertainty as to the nature and extent that Plaintiff’s and class

members’ Private Information and sensitive HIPAA protected medical information was

compromised, the fact that the breach occurred makes it likely that their private medical

information will or has already been disclosed to unauthorized third parties.

D.     HIPAA and Data Breach Liability In New York

36.    The Health Insurance Portability and Accountability Act (HIPAA), is federal legislation

passed in 1996 which requires providers of health care to ensure the privacy of patient records

and health information. HIPAA required the federal Department of Health and Human Services

(HHS) to develop regulations to implement these privacy requirements, called the Privacy Rule,

which became effective on April 14, 2003.

37.    SINAI [provider] contracted with BLACKBAUD [cloud services provider or “CSP”] for

communications and fundraising software services and provided BLACKBAUD with Private

Information concerning Plaintiff and tens of thousands of other SINAI donors, including current

and former patients.
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 10 of 35




38.    The HIPAA Rules establish important protections for individually identifiable health

information (called protected health information or PHI when created, received, maintained, or

transmitted by a HIPAA covered entity or business associate), including limitations on uses and

disclosures of such information, safeguards against inappropriate uses and disclosures, and

individuals’ rights with respect to their health information.

39.    Covered entities and business associates must comply with the applicable provisions of

the HIPAA Rules. A covered entity is a health plan, a health care clearinghouse, or a health care

provider who conducts certain billing and payment related transactions electronically. A

business associate is an entity or person, other than a member of the workforce of a covered

entity, that performs functions or activities on behalf of, or provides certain services to, a covered

entity that involve creating, receiving, maintaining, or transmitting PHI. A business associate

also is any subcontractor that creates, receives, maintains, or transmits PHI on behalf of another

business associate.

40.    When SINAI, a covered entity engaged the services of BLACKBAUD, [a CSP] to create,

receive, maintain, or transmit ePHI (such as to process and/or store ePHI), on its behalf, the CSP

is a business associate under HIPAA.

41.    Further, when a business associate subcontracts with a CSP to create, receive, maintain,

or transmit ePHI on its behalf, the CSP subcontractor itself is a business associate. This is true

even if the CSP processes or stores only encrypted ePHI and lacks an encryption key for the data.

42.    Lacking an encryption key does not exempt a CSP from business associate status and

obligations under the HIPAA Rules. As a result, the covered entity (or business associate) and

the CSP must enter into a HIPAA-compliant business associate agreement (BAA), and the CSP
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 11 of 35




is both contractually liable for meeting the terms of the BAA and directly liable for compliance

with the applicable requirements of the HIPAA Rules.

43.    For providers such as SINAI, that are covered under HIPAA, the Privacy Rule’s

requirements apply to all disclosures of protected health information, regardless of the purpose

for which the protected health information was created. The type of service rendered, and the

existence of a provider-patient relationship are irrelevant in determining if the requirements of

the Privacy Rule apply. Once a provider meets the regulatory definition of a healthcare provider

subject to HIPAA’s regulations, then that provider must comply with the Privacy Rule’s

requirements for all uses and disclosures of protected health information.

44.    On July 25, 2019, New York Governor Andrew Cuomo signed into law the Stop Hacks

and Improve Electronic Data Security Act ("SHIELD Act") amending New York's data breach

notification law.

45.    The SHIELD Act covers any and all persons or entities that have the private information

of New York residents regardless of size or whether they are actually located in New York. It

applies to for-profits and not-for-profits. Virtually every health care provider and payor in New

York is already required to abide by the HIPAA and HITECH regulations covering security of

personal health information, but they must become familiar with the SHIELD Act’s provisions

and make appropriate revisions to their data security compliance policies and procedures.

Vendors and contractors with which private information is shared must also get into compliance

with the SHIELD Act’s requirements.

46.    The SHIELD Act introduces significant changes, including.

a.       The Act broadens the definition of "private information" to include biometric information
and username/email address in combination with a password or security questions and answers.
It also includes an account number or credit/debit card number, even without a security code,
access code, or password if the account could be accessed without such information.
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 12 of 35




b.      The Act expands the definition of "breach of the security of the system" to include
unauthorized "access" of computerized data that compromises the security, confidentiality, or
integrity of private information, and it provides sample indicators of access. Previously, a breach
was defined only as unauthorized acquisition of computerized data.
c.     The Act expands the territorial application of the breach notification requirement to any
person or business that owns or licenses private information of a New York resident. Previously,
the law was limited to those that conduct business in New York.
d.      The Act requires companies to adopt reasonable safeguards to protect the security,
confidentiality, and integrity of private information. A company should implement a data
security program containing specific measures, including risk assessments, employee training,
vendor contracts, and timely data disposal. In order to achieve compliance, a business must
implement a data security program that includes at least the following:
        i.      reasonable administrative safeguards that may include designation of one or more
employees to coordinate the security program, identification of reasonably foreseeable external
and insider risks, assessment of existing safeguards, workforce cybersecurity training, selection
of service providers capable of maintaining appropriate safeguards and requiring those
safeguards by contract, and a process for implementing adjustments to the security program
based on business changes or new circumstances;
        ii.    reasonable technical safeguards that may include risk assessments of network,
software design and information processing, transmission and storage, implementation of
measures to detect, prevent and respond to system failures, and regular testing and monitoring of
the effectiveness of key controls; and, reasonable physical safeguards that may include detection,
prevention and response to intrusions, and reasonable technical safeguards that may include risk
assessments of network, software design and information processing, transmission and storage,
implementation of measures to detect, prevent and respond to system failures, and regular testing
and monitoring of the effectiveness of key controls; and,
       iii.     reasonable physical safeguards that may include detection, prevention and
response to intrusions, and protections against unauthorized access to or use of private
information during or after collection, transportation and destruction or disposal of the
information, and disposal of information after a reasonable amount of time after it is no longer
needed for business purposes by erasing electronic media so that the information cannot be read
or reconstructed.
47.    BLACKBAUD did not comply with the SHIELD ACT and negligently failed to

implement required safeguards and quality-control mechanisms to protect the security,

confidentiality, and integrity of the Private Information of Plaintiff and Class members.
           Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 13 of 35




48.    BLACKBAUD negligently failed to implement a data security program containing

specific measures, including risk assessments, employee training, vendor contracts, and timely

data disposal.

49.    BLACKBAUD maintained and secured the Private Information of Plaintiff and Class

members in a reckless manner, including, inter alia, failing to safeguard against ransomware

attacks.

50.        The Private Information was maintained on BLACKBAUD’S respective computer

networks in a condition vulnerable to cyberattacks. The mechanism of the cyberattack and

potential for improper disclosure of Plaintiff and Class Members’ Private Information was a

known and acknowledged risk to BLACKBAUD, which failed to take steps necessary to timely

and reasonably implement protocols, training, and adjustments to its security program to mitigate

and/or prevent those risks.

E.     Plaintiff and Class Members’ Damages

51.    Personal data has value. Facebook and Google harvest billions from it through

advertising. Talented hackers make a handsome living from stealing and selling it. Private

Information data is often easily taken because it is less protected and regulated than payment

card data. It has been estimated that, on average, the personal data of a US resident is worth

somewhere in the region of $2000 — $3000 per year.

https://permission.io/blog/how-much-is-data-worth/

52.    As noted in the 2014 Verizon Report, [ Verizon 2014 PCI Compliance Report, available

at http://www.nocash.info.ro/wp-content/uploads/2014/02/Verizon_pci-report-2014.pdf] in “one

of 2013’s largest breaches . . . not only did hackers compromise the [card holder data] of three

million customers, they also took registration data from 38 million users.” Id.
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 14 of 35




53.     Similarly, in the Target data breach, in addition to PCI data pertaining to 40,000 credit

and debit cards, hackers stole Private Information pertaining to 70,000 customers. “Increasingly,

criminals are using biographical data gained from multiple sources to perpetrate more and larger

thefts.” Id. Illicitly obtained Private Information, sometimes aggregated from different data

breaches, is sold on the black market, including on websites, as a product at a set price.

See, e.g., http://krebsonsecurity.com/2011/11/howmuch-is-your-identity-worth

54.     Moreover, Private Information of individuals with something in common is extremely

valuable to criminals because it can help them perpetrate targeted spear phishing attacks. Spear

phishers target select groups with something in common, i.e., they are donors to not-for-profit

organizations, so that they can send members of the group an email that looks just like an email

soliciting funds for a charitable cause. But once recipients click on a link, they can be tricked

into downloading malware on their own computers or deceived into giving up additional

confidential information such as new passwords, financial information, personal data and much

more.

55.     To date, BLACKBAUD has done nothing to provide Plaintiff and Class Members with

relief for the damages they have suffered as a result of the Data Breach including, but not limited

to, the costs of credit monitoring, and/or costs for loss of time they incurred because of the stolen

data.

52.     Plaintiff and Class Members have been damaged by the compromise of their Private

Information in the Data Breach.

53.     Plaintiff ‘s Private Information was compromised as a direct and proximate result of the

Data Breach. While the compromise of Ms. Bedell’s information was known as early as May of

2020, she did not receive a Data Breach Notice until September 11, 2020. [Exhibit A].
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 15 of 35




54.     As a direct and proximate result of BLACKBAUD’S conduct, Plaintiff and Class

Members have been placed at an imminent, immediate, and continuing increased risk of harm

from fraud and identity theft.

55.    As a direct and proximate result of BLACKBAUD’S conduct, Plaintiff and Class

Members have been forced to expend time dealing with the effects of the Data Breach.

56.     Plaintiff and Class Members face substantial risk of out-of-pocket fraud losses such as

loans opened in their names, medical services billed in their names, tax return fraud, utility bills

opened in their names, credit card fraud, and similar identity theft.

57.    Plaintiff and Class Members face substantial risk of being targeted for future phishing,

data intrusion, and other illegal schemes based on their Private Information as potential

fraudsters could use that information to more effectively target such schemes to Plaintiff and

Class Members.

58.    Plaintiff and Class Members may also incur out-of-pocket costs for protective measures

such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs directly or

indirectly related to the Data Breach.

59.    Plaintiff and Class Members also suffered a loss of value of their Private Information

when it was acquired by cyber thieves in the Data Breach. Numerous courts have recognized the

propriety of loss of value damages in related cases.

60.    Private Information is a valuable commodity for which a market exists and is being sold

by hackers on the dark web.

61.    One Law Journal has stated that the value of Personal Information is a valued commodity

and financial asset:

       Corporate America’s increasing dependence on the electronic use of personally
       identifiable information (“PII”) necessitates a reexamination and expansion of the
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 16 of 35




       traditional conception of corporate assets. PII is now a commodity that companies trade
       and sell. As technological development increases, aspects of day-to-day business
       involving PII are performed electronically in a more cost effective and efficient manner.
       PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching a
       level comparable to the value of traditional financial assets.
https://scholarship.richmond.edu/jolt/vol15/iss4/2
62.    Plaintiff and Class members have been damaged by the unauthorized disclosure of their

personal information in the subject data breach and have lost the sales value of their personal

information, as a proximate result.

63.    Plaintiff and Class Members have spent and will continue to spend significant amounts of

time to monitor their financial, medical accounts and records for misuse and fraud.

64.    Plaintiff and Class Members have an interest in ensuring that their Private Information,

which is believed to remain in the possession of BLACKBAUD, is protected from further

breaches by the implementation of security measures and safeguards, including, but not limited

to, making sure that the storage of data or documents containing personal and financial

information is not accessible online and that access to such data is password-protected.

65.    As a result of BLACKBAUD’S wrongful conduct, Plaintiff and Class Members are

forced to live with the knowledge that their Private Information—which contains the most

intimate details about a person’s life, may be disclosed to the entire world, thereby subjecting

them to embarrassment and depriving them of their right to privacy.

66.    Plaintiff and Class Members are now forced for long periods of time to endure the fear of

whether their Private Information will be used.

67.    As a direct and proximate result of BLACKBAUD’S negligent actions and inactions,

Plaintiff and Class Members have suffered anxiety, emotional distress, and loss of privacy, and

are at an increased risk of future harm.
           Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 17 of 35




                               CLASS ACTION ALLEGATIONS

68.    Plaintiff brings this action individually and on behalf of all other persons similarly

situated (“the Class”).

69.    Plaintiff proposes the following Class definition, subject to amendment as appropriate:

       All donors to The Mount Sinai Health System, Inc., including current and former
       patients, whose Private and HIPAA Information was compromised in the 2020 Data
       Breach described by BLACKBAUD at www.blackbaud.com/securityincident.
70.    Excluded from the Class are BLACKBAUD’S officers, directors, and employees; any

entity in which Defendant has a controlling interest; and the affiliates, legal representatives,

attorneys, successors, heirs, and assigns of BLACKBAUD. Excluded also from the Class are

members of the judiciary to whom this case is assigned, their families and members of their staff.

71.    Plaintiff is a member of the class she seeks to represent.

72.    This action has been brought and may properly be maintained as a class action against

BLACKBAUD pursuant to FRCP Rule 23, because there is a well-defined community of interest

in the litigation and the proposed Class is easily ascertainable.

73.    Numerosity. The members of the Class are so numerous that joinder of all of them is

impracticable. While the exact number of Class members is unknown to Plaintiff at this time,

based on information and belief, the class consists of approximately tens of thousands of persons

whose data was compromised in Data Breach.

74.    Commonality. Common questions of law and fact exist for the proposed class claims and

predominate over questions affecting only individual class members. Common questions

include:

a.     Whether Defendant owed a duty to Plaintiffs and members of the proposed classes to
       take reasonable measures to safeguard their Private Information.
b.     Whether Defendant knew or should have known that their systems were inadequate and
       susceptible to a data breach.
        Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 18 of 35




c.     Whether Defendant’s data security systems prior to and during the Data Breach
       complied with applicable data security laws and regulations.
d.     Whether Defendant’s failure to implement adequate security controls violate applicable
       state consumer protection laws.
e.     Whether Defendant’s data security systems prior to and during the Data Breach
       were consistent with industry standards.
f.     Whether Defendant breached its legal duties in allowing its cybersecurity systems to be
       compromised.
g.     Whether Defendant owed a duty to Plaintiff and members of the proposed classes to
       provide timely and adequate notice of the data breach.
h.     Whether Defendant failed to provide notice of the Data Breach in a timely
       manner.
i.     Whether Plaintiff and Class Members suffered legally cognizable damages as a
       result of Defendant’s misconduct.
j.      Whether Defendant’s conduct was negligent.
k.     Whether Defendant’s conduct was negligent per se.
l.     Whether Plaintiff and Class Members suffered legally cognizable damages as a
       result of Defendant’s negligence and misconduct.
m.     Whether Plaintiff and Class Members are entitled to damages, treble damages,
       civil penalties, punitive damages, and/or injunctive relief.
n.     Which security procedures and data-breach notification procedure Defendant should be
       required to implement as part of any injunctive relief ordered by the Court.


75.    Typicality. Plaintiff’s claims are typical of the claims of the proposed Class because,

among other things, Plaintiff and Class members sustained similar injuries as a result of

BLACKBAUD’S uniform wrongful conduct and their legal claims all arise from the same core

data breach and business practices of Defendant.

76.    Adequacy. Plaintiff will fairly and adequately protect the interests of the Class. Her

interests do not conflict with class members’ interests and she has retained counsel experienced
          Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 19 of 35




in complex class action and data privacy litigation to vigorously prosecute this action on behalf

of the Class.

77.    Commonality. Common questions of law and fact predominate over any questions

affecting only individual class members and a class action is superior to individual litigation.

78.    Predominance. Defendant has engaged in a common course of conduct toward Plaintiff

and Class Members, in that all the Plaintiff and Class Members’ data was stored on the same

computer systems and unlawfully accessed in the same way. The common issues arising from

Defendant’s conduct affecting Class Members, as described supra, predominate over any

individualized issues. Adjudication of these common issues in a single action has important and

desirable advantages of judicial economy.

79.    Superiority. A class action is superior to other available methods for the fair and efficient

adjudication of the controversy. Class treatment of common questions of law and fact is superior

to multiple individual actions or piecemeal litigation. Absent a class action, most class members

would likely find that the cost of litigating their individual claim is prohibitively high and would

therefore have no effective remedy. The prosecution of separate actions by individual class

members would create a risk of inconsistent or varying adjudications with respect to individual

class members, which would establish incompatible standards of conduct for Defendant. In

contrast, the conduct of this action as a class action presents far fewer management difficulties,

conserves judicial resources and the parties’ resources, and protects the rights of each class

member.

80.    BLACKBAUD has acted on grounds that apply generally to the Class as a whole, so that

class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

class-wide basis.
        Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 20 of 35




                                  FIRST CAUSE OF ACTION
                                         NEGLIGENCE
                          (On Behalf of Plaintiff and All Class Members)


81.    Plaintiff incorporates the above allegations as if fully alleged herein.

82.    BLACKBAUD’S client, SINAI, required Plaintiff and Class Members to submit non-

public Private Information in order to obtain medical care, treatment, and other healthcare

services. BLACKBAUD had a duty to SINAI, Plaintiff, and Class Members to securely maintain

the Private Information collected.

83.    By accepting the duty to maintain and secure this data in its computer property, and

sharing it and using it for commercial gain, BLACKBAUD had a duty of care to use reasonable

means to secure and safeguard its computer property and Plaintiff’s and Class Members’ Private

Information held within it to prevent disclosure of the information, and to safeguard the

information from theft.

84.    BLACKBAUD owed a duty to Plaintiff and class members to exercise reasonable care in

obtaining, retaining, deleting, securing, and protecting their Private Information from being

compromised, lost, stolen, accessed, or misused by unauthorized persons.

85.    BLACKBAUD’S duty included a responsibility to implement processes by which it

could detect a breach of its security systems in a reasonably expeditious period of time and to

give prompt notice to those affected in the case of a data breach and/or ransomware attack.

86.    More specifically, this duty included among other things: (a) designing, maintaining, and

testing BLACKBAUD’S security systems to ensure that Plaintiff and class members’ Private

Information was adequately secured and protected; (b) implementing adequate and effective

processes to detect an intrusion into their information systems in a timely manner; (c) timely

acting upon warnings and alerts, including those generated by their own security systems,
           Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 21 of 35




regarding network intrusions; and (d) maintaining data security measures at least consistent with

industry standards.

87.       BLACKBAUD’S duty of care to use reasonable security measures arose as a result of the

special relationship that existed between BLACKBAUD and its Clients and Users, which is

recognized by Defendant’s Policy Notice North America, as well as laws and regulations.

88.       BLACKBAUD was in a position to ensure that its systems were sufficient to protect

against the foreseeable risk of harm to Class Members from a ransomware attack and/or data

breach.

89.       BLACKBAUD had a specific duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the

unfair practice of failing to use reasonable measures to protect confidential data.

90.       In New York, BLACKBAUD’S duty to Plaintiff and Class members also arises under the

SHIELD ACT, which required BLACKBAUD to adopt reasonable safeguards to protect the

security, confidentiality, and integrity of private information.

91.       BLACKBAUD’S duty to Plaintiff and Class members arose not only as a result of the

statutes and regulations described above, but also because Defendant is/was bound by industry

standards to protect confidential Private Information.

92.       BLACKBAUD also had a common law duty to prevent foreseeable harm to others. This

duty existed because Plaintiff and class members were the foreseeable and probable victims of its

inadequate security practices. It was clearly foreseeable that Plaintiff and class members would

be harmed by the failure to protect their personal information, because hackers routinely attempt

to steal such information and use it for nefarious purposes.
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 22 of 35




93.    BLACKBAUD breached its duties and was negligent by failing to use reasonable

measures to protect Plaintiff and Class Members’ Private Information. The specific negligent

acts and omissions committed by BLACKBAUD include, but are not limited to, the following:

a.     Failing to adopt, implement, and maintain adequate security measures to safeguard Class
       Members’ Private Information.
b.     Failing to adequately monitor the security of their networks and systems.
c.     Failure to periodically ensure that their email system had plans in place to
       maintain reasonable data security safeguards.
d.     Allowing unauthorized access to Class Members’ Private Information.
e.      Failing to detect in a timely manner that Class Members’ Private Information had
       been compromised; and
f.     Failing to timely notify Class Members about the Ransomware Attack so that they
       could take appropriate steps to mitigate the potential for identity theft and other damages.



94.    It was foreseeable that BLACKBAUD’S failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Class Members. Further, the

breach of security was reasonably foreseeable given the known high frequency of ransomware

attacks and data breaches in the healthcare industry.

95.    As a proximate result of BLACKBAUD’S negligent omissions and commissions as set

forth above, Plaintiff and all Class members have sustained actual and ascertainable injury,

damages and pecuniary loss as set forth in paragraphs 51-67 above.

96.    Plaintiff and Class Members are entitled to compensatory and consequential damages

suffered as a result of the subject Data Breach.

97.    Plaintiff and Class Members are also entitled to injunctive relief requiring

BLACKBAUD to (i) improve and strengthen its data security systems and monitoring
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 23 of 35




procedures; (ii) submit to future annual audits of those systems and monitoring procedures; and

(iii) immediately provide adequate credit monitoring to all Class Members.

                                SECOND CAUSE OF ACTION

                           BREACH OF EXPRESS CONTRACT
                        (On Behalf of Plaintiff and All Class Members)

98.    Plaintiff incorporates the above allegations as if fully alleged herein.

99.    Plaintiff and members of the Class were the direct or third-party beneficiaries of valid

and enforceable express contracts, with BLACKBAUD (including, inter alia, Privacy Policy

North America).

100.    In fact, BLACKBAUD’S Privacy Policy North America expressly extends to any

“constituent, supporter, patient or student of one of [Blackbaud’s] customers…”

https://www.blackbaud.com/company/privacy-policy/north-america

101.    The valid and enforceable express contracts that Plaintiff, Class Members, and

SINAI entered into with BLACKBAUD include Defendant’s promise to protect Private

Information given to Defendant’s Clients and otherwise maintained and secured by Defendant.

102.    Under these express contracts, BLACKBAUD promised and was obligated to protect

Plaintiff’s and the Class Members’ Private Information. In exchange, SINAI, Plaintiff, and

members of the Class agreed to pay money for these services.

103.   The protection of Plaintiff’s and Class Members’ Private Information were material

aspects of these contracts.

104.   At all relevant times, BLACKBAUD expressly represented in its Privacy Policy North

America as follows:

       While no website can guarantee exhaustive security, we maintain appropriate physical,
       electronic, and procedural safeguards to protect your personal information collected via
       the website. We protect our databases with various physical, technical, and procedural
          Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 24 of 35




         measures and we restrict access to your information by unauthorized persons. We also
         advise all Blackbaud employees about their responsibility to protect customer data and
         we provide them with appropriate guidelines for adhering to our company’s business
         ethics standards and confidentiality policies.


105.     BLACKBAUD’S express representations, including, but not limited to, express

representations found in its Privacy Policy, formed an express contract requiring BLACKBAUD

to implement data security adequate to safeguard and protect the privacy of Plaintiff’s and Class

Members’ Private Information.

106.     Consumers of healthcare and education, as well as non-profit donors, value their privacy,

the privacy of their dependents, and the ability to keep their Private Information associated with

healthcare, education, and other institutions private. To customers such as Plaintiff and Class

Members, maintenance and security of Private Information that does not adhere to industry

standard data security protocols to protect Private Information is fundamentally less useful and

less valuable than such services that adhere to industry-standard data security. Plaintiff and Class

Members would not have given SINAI and BLACKBAUD their Private Information, and

otherwise entered into these contracts with BLACKBAUD and/or SINAI as a direct or third-

party beneficiary, without an understanding that their Private Information would be safeguarded

and protected.

107.     Plaintiff and members of the Class provided their Private Information to BLACKBAUD

and/or SINAI, its affiliated Client, with a reasonable expectation of protection of their Private

Information.

108.     Plaintiff and Class Members performed their obligations under the contract,

including when they paid for services provided by SBUH and/or otherwise donated money to

SINAI.
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 25 of 35




109.    BLACKBAUD materially breached its contractual obligation to protect the Private

Information, by failing to maintain appropriate physical, electronic, and procedural safeguards to

“protect [its] databases with various physical, technical and procedural measures and [we]

restrict access to your information by unauthorized persons,” or otherwise adequately train

employees.”

110.    BLACKBAUD did not comply with industry standards, or otherwise protect Plaintiff’s

and the Class Members’ Private Information, as set forth above.

111.    BLACKBAUD failed to take reasonable steps to ensure that their contractors used safe

and secure systems to protect that Private Information.

112.    BLACKBAUD failed to ensure that their contractors had appropriate security protocols

and measures in place to protect that Private Information.

113.    BLACKBAUD allowed their contractors to disclose that information to unauthorized

third parties.

114.    BLACKBAUD failed to promptly alert or give notice of the breach to Plaintiff and class

members.

115.    As a direct and proximate result of BLACKBAUD’S breach of contract, Plaintiff and

Class members did not get what they had bargained for; to wit, charitable services which

protected their sensitive Private Information.

116.    As a result of BLACKBAUD’S failure to fulfill the data security protections promised in

these contracts, Plaintiff and Class Members did not receive the full benefit of the bargain, and

instead received services that were of a diminished value to that described in the contracts.

117.    By reason of BLACKBAUD’S breach, Plaintiff and Class Members were damaged in an

amount at least equal to the difference in the value of the charitable services with data security
          Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 26 of 35




protection they paid for and the negligent/legally deficient data security protection services they

actually received.

118.     As a proximate result of BLACKBAUD’S breach of contract, Plaintiff and Class

members have suffered actual damages resulting from the exposure of their Private Information,

including ascertainable injury, damages and pecuniary loss as set forth in paragraphs 51-67

above.

119.     Had BLACKBAUD disclosed that its security was inadequate or that it did not adhere to

industry-standard security measures, the Plaintiff, the Class Members, or any reasonable person

would not have accepted or purchased services from BLACKBAUD and/or SINAI, which

required providing Private Information.

120.     As a direct and proximate result of the Data Breach, Plaintiff and Class Members have

been harmed and have suffered, and will continue to suffer, actual damages and injuries,

including without limitation the release, disclosure, and publication of their Private Information,

the loss of control of their Private Information, the imminent risk of suffering additional damages

in the future, out-of-pocket expenses, and the loss of the benefit of the bargain.

121.     Plaintiff and Class Members are entitled to compensatory and consequential damages

suffered as a result of the Data Breach, in an amount to be determined at trial.

                                   THIRD CAUSE OF ACTION

                            BREACH OF IMPLIED CONTRACT
                         (On Behalf of Plaintiff and All Class Members)


122.     Plaintiff incorporates the above allegations as if fully alleged herein.

123.     When Plaintiff and Class Members provided their Private Information to SINAI, as a

condition for making a charitable contribution to SINAI, they entered into implied contracts with

BLACKBAUD in which said Defendant agreed to reasonably protect their Private Information.
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 27 of 35




124.   BLACKBAUD solicited and invited Class Members to provide their Private Information

as part of Defendant’s regular business practices, including through its Privacy Policy.

125.   Plaintiff and Class Members accepted BLACKBAUD” S offers and provided their

Private Information to Defendant.

126.   By entering into such implied contracts, Plaintiff and Class Members reasonably believed

and expected that BLACKBAUD” S data security practices complied with relevant laws and

regulations and were consistent with industry standards.

127.    Plaintiff and Class Members would not have entrusted their Private Information to

BLACKBAUD in the absence of the implied contract between them and Defendant to keep their

Private Information reasonably secure.

128.    Plaintiff and Class Members would not have entrusted their Private Information to

BLACKBAUD in the absence of its implied promise to monitor its computer systems and

networks to ensure that it adopted reasonable data security measures.

129.    Plaintiff and Class Members fully and adequately performed their obligations under the

implied contracts with BLACKBAUD.

130.   BLACKBAUD breached its implied contracts with Class Members by failing to

safeguard and protect their Private Information.

131.   As a direct and proximate result of BLACKBAUD’S breaches of the implied contracts,

Class Members sustained damages as alleged herein.

132.   Plaintiff and Class Members are entitled to compensatory and consequential damages

suffered as a result of the Data Breach.

133.   Plaintiff and Class Members are also entitled to injunctive relief requiring

BLACKBAUD to (i) strengthen its data security systems and monitoring procedures; (ii) submit
        Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 28 of 35




to future annual audits of those systems and monitoring procedures; and (iii) immediately

provide adequate credit monitoring to all Class Members.

                               FOURTH CAUSE OF ACTION
                            [N.Y. GEN. BUS. LAW § 349, et. seq.]

134.   Plaintiff incorporates the above allegations as if fully alleged herein.

135.   BLACKBAUD engaged in deceptive acts or practices in the conduct of its business,

trade, and commerce, or furnishing of services, in violation of N.Y. Gen. Bus. Law § 899-bb,

including:

a.     Failing to implement and maintain reasonable security and privacy measures to protect

Plaintiff and class members’ Private Information, which was a direct and proximate cause of the

subject data breach.

b.     Failing to comply with common law and statutory duties pertaining to the security and

privacy of Plaintiffs’ Private Information, including duties imposed by the FTC Act, 15 U.S.C. §

45, and the GLBA, 15 U.S.C. § 6801, et seq., which was a direct and proximate cause of the

data breach;

c.     Misrepresenting that it would protect the privacy and confidentiality of Plaintiff’s and

class members’ Private Information, including by implementing and maintaining reasonable

security measures.

d.     Misrepresenting that it would comply with common law and statutory duties pertaining to

the security and privacy of Plaintiff’s and class members’ Private Information, including duties

imposed by the FTC Act, 15 U.S.C. § 45, and the GLBA, 15 U.S.C. § 6801, et seq.;

e.     Omitting, suppressing, and concealing the material fact that it did not reasonably or

adequately secure Plaintiffs and class members’ Private Information; and
        Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 29 of 35




f.     Omitting, suppressing, and concealing the material fact that it did not comply with

common law and statutory duties pertaining to the security and privacy of Plaintiff’s and

subclass members’ Private Information, including duties imposed by the FTC Act, 15 U.S.C. §

45, and the GLBA, 15 U.S.C. § 6801, et seq.

136.   BLACKBAUD’S representations and omissions were material because they were likely

to deceive reasonable consumers as well as companies who retained BLACKBAUD, including

SINAI, about the adequacy of BLACKBAUD’S data security and ability to protect the

confidentiality of consumers’ Private Information.

137.   BLACKBAUD violated the NYS Information Security Breach and Notification Act,

which is comprised of section 208 of the State Technology Law and section 899-aa of the

General Business Law.

138.   BLACKBAUD violated General Business Law section 899-aa [2], which provides:

       2. Any person or business which conducts business in New York state, and which owns
       or licenses computerized data which includes private information shall disclose any
       breach of the security of the system following discovery or notification of the breach in
       the security of the system to any resident of New York state whose private information
       was, or is reasonably believed to have been, acquired by a person without valid
       authorization. The disclosure shall be made in the most expedient time possible and
       without unreasonable delay, consistent with the legitimate needs of law enforcement, as
       provided in subdivision four of this section, or any measures necessary to determine the
       scope of the breach and restore the reasonable integrity of the system.
139.   N.Y. Gen. Bus. Law § 899-bb [2] provides as follows:
        2. Reasonable security requirement. (a) Any person or business that owns or licenses
       computerized data which includes private information of a resident of New York shall
       develop, implement and maintain reasonable safeguards to protect the security,
       confidentiality and integrity of the private information including, but not limited to,
       disposal of data.
140.   N.Y. Gen. Bus. Law § 899-bb[2][d] provides as follows:
       (d) Any person or business that fails to comply with this subdivision shall be deemed to
       have violated section three hundred forty-nine of this chapter…
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 30 of 35




141.   BLACKBAUD acted intentionally, knowingly, and maliciously to violate New York’s

General Business Law, § 349 and recklessly disregarded Plaintiff’s and class members’ rights.

142.   As a direct and proximate result of BLACKBAUD’s deceptive and unlawful acts and

practices, Plaintiff and class members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

from fraud and identity theft; time and expenses related to monitoring their financial accounts for

fraudulent activity; an increased, imminent risk of fraud and identity theft; loss of the benefit of

their bargains with Defendant; and loss of value of their personal information.

143.   BLACKBAUD’s deceptive and unlawful acts and practices complained of herein

affected the public interest and consumers at large, including tens of thousands of New Yorkers

affected by the data breach.

144.   The above deceptive and unlawful practices and acts by BLACKBAUD caused

substantial injury to Plaintiff and class members, that they could not reasonably avoid.

145.   BLACKBAUD is liable to Plaintiff and Class members for compensatory damages

available under New York General Business Law, § 349 et. seq.

146.   BLACKBAUD is liable to Plaintiff and Class members for statutory damages available

under New York General Business Law, § 349 et. seq.

147.   Pursuant to New York General Business Law, § 349 et. seq., BLACKBAUD is liable to

pay costs to Plaintiff and Class members, including reasonable attorney's fees.

                                  FIFTH CAUSE OF ACTION
                                   [NEGLIGENCE PER SE]


148.   Plaintiff incorporates the above allegations as if fully alleged herein.

149.   Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, prohibits “unfair . . .

practices in or affecting commerce” including, as interpreted and enforced by the Federal Trade
         Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 31 of 35




Commission, the unfair act or practice by companies such as BLACKBAUD of failing to use

reasonable measures to protect Private Information. Various FTC publications and orders also

form the basis of BLACKBAUD’s duties.

150.   BLACKBAUD violated Section 5 of the FTC Act (and similar state statutes) by failing to

use reasonable measures to protect Private Information and not complying with industry

standards. Defendant’s conduct was particularly unreasonable given the nature and amount of

personal information they obtained and stored and the foreseeable consequences of a data breach.

151.   BLACKBAUD’s violation of Section 5 of the FTC Act (and similar state statutes)

constitutes negligence per se.

152.   Plaintiff and Class members are consumers within the class of persons Section 5 of the

FTC Act (and similar state statutes) was intended to protect.

153.   The harm that has occurred here, is the type of harm the FTC Act (and similar state

statutes) was intended to guard against. Indeed, the FTC has pursued over fifty enforcement

actions against businesses which, as a result of their failure to employ reasonable data security

measures and avoid unfair and deceptive practices, caused the same harm suffered by Plaintiffs

and the class.

154.   As a direct and proximate result of BLACKBAUD’s negligence, Plaintiff and class

members have been injured, and are entitled to damages, including compensatory, punitive, and

nominal damages, in an amount to be proven at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and behalf of the proposed Class, prays for

judgment granting the following relief:

a)     For an Order certifying this action as a class action and appointing Plaintiff and her
       Counsel to represent the Class.
        Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 32 of 35




b)     For equitable relief enjoining Defendant from engaging in the wrongful conduct
       complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and
       Class Members’ Private Information, and from refusing to issue prompt, complete
       and accurate disclosures to Plaintiff and Class Members.
c)     For equitable relief compelling Defendant to utilize appropriate methods and
       policies with respect to consumer data collection, storage, and safety, and to
       disclose with specificity the type of Private Information compromised during the
       Data Breach.
d)     For equitable relief requiring restitution and disgorgement of the revenues
       wrongfully retained as a result of Defendant’s wrongful conduct.
e)     Ordering Defendant to pay for not less than seven years of credit monitoring
       services for Plaintiff and the Class.
f)     For an award of actual damages, compensatory damages, statutory damages, and
       statutory penalties, in an amount to be determined, as allowable by law.
g)     For an award of punitive damages, as allowable by law.
h)     For an award of attorneys’ fees and costs, and any other expense, including expert
       witness fees.
i)     Pre- and post-judgment interest on any amounts awarded; and
j)     Such other and further relief as this court may deem just and proper.
                                 DEMAND FOR JURY TRIAL
       Plaintiff demands a trial by jury of all issues in this action so triable of right.
Dated: October 5, 2020
                                               BLAU LEONARD LAW GROUP, LLC
                                               ____________________________________
                                               Steven Bennett Blau
                                               Shelly A. Leonard
                                               23 Green Street, Suite 105
                                               Huntington, NY 11743
                                               (631) 458-1010
                                               sblau@blauleonardlaw.com
                                               sleonard@blauleonardlaw.com
                                               Attorneys for Plaintiff
           Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 33 of 35




                                   DEMAND FOR PRESERVATION

       PLEASE TAKE NOTICE that BLACKBAUD, INC. (“Defendant”), is under a legal

duty to maintain, preserve, retain, protect, and not destroy any and all evidence, documents and

data, both electronic and hard copy, and/or tangible items pertaining or relevant to property

discoverable regarding to all of the claims made in this litigation.

       This notice applies to Defendant’s on- and off-site computer systems and removable

electronic media, plus all computer systems, services, and devices (including all remote access

and wireless devices) used for your overall operation. This includes, but is not limited to, e-mail

and other electronic communications; electronically stored documents, records, images, graphics,

recordings, spreadsheets, databases; calendars, system usage logs, contact manager information,

telephone logs, internet usage files, deleted files, cache files, user information, and other data.

Further, this notice applies to archives, backup and disaster recovery tapes, discs, drives,

cartridges, voicemail, and other data. All operating systems, software, applications, hardware,

operating manuals, codes keys and other support information needed to fully search, use, and

access the electronically stored information.

       Electronically stored information (hereinafter “ESI”) should be afforded the broadest

possible definition and includes (by way of example and not as an exclusive list) potentially

relevant information electronically, magnetically, or optically stored as:

       •       Digital communications (e.g., e-mail, voice mail, instant messaging);

       •       Word processed documents (e.g., Word or WordPerfect documents and drafts);

       •       Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);

       •       Accounting Application Data (e.g., QuickBooks, Money, Peachtree data files);

       •       Image and Facsimile Files (e.g., .PDF, .TIFF, .JPG, .GIF images);
           Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 34 of 35




       •       Sound Recordings (e.g., .WAV and .MP3 files);

       •       Video and Animation (e.g., .AVI and .MOV files);

       •       Databases (e.g., Access, Oracle, SQL Server data, SAP);

       •       Contact and Relationship Management Data (e.g., Outlook, ACT!);

       •       Calendar and Diary Application Data (e.g., Outlook PST, Yahoo, blog tools);

       •       Online Access Data (e.g., Temporary Internet Files, History, Cookies);

       •       Presentations (e.g., PowerPoint, Corel Presentations)

       •       Network Access and Server Activity Logs;

       •       Project Management Application Data;

       •       Computer Aided Design/Drawing Files; and,

       •       Back Up and Archival Files (e.g., Zip, .GHO)

       You are directed to immediately initiate a litigation hold for potentially relevant ESI,

documents and tangible things, and to act diligently and in good faith to secure and audit

compliance with such litigation hold. You are further directed to immediately identify and

modify or suspend features of your information systems and devices that, in routine operation,

operate to cause the loss of potentially relevant ESI. Examples of such features and operations

include:

       •       Purging the contents of e-mail repositories by age, capacity or other criteria;

       •       Using data or media wiping, disposal, erasure, or encryption utilities or devices.

       •       Overwriting, erasing, destroying, or discarding back up media.

       •       Re-assigning, re-imaging, or disposing of systems, servers, devices, or media.

       •       Running antivirus or other programs effecting wholesale metadata alteration;

       •       Releasing or purging online storage repositories;
           Case 7:20-cv-08271-KMK Document 1 Filed 10/05/20 Page 35 of 35




       •       Using metadata stripper utilities;

       •       Disabling server or IM logging; and,

       •       Executing drive or file defragmentation or compression programs.

       In order to assure that your obligation to preserve documents and things will be met,

please forward a copy of this letter to any and all persons and entities with custodial

responsibilities for the items referred to herein. Notify all individuals and affiliated

organizations of the need and duty to take the necessary affirmatives steps to comply with the

duty to preserve evidence.

       Specifically, you are instructed not to destroy, disable, erase, encrypt, alter, or otherwise

make unavailable any electronic data and/or evidence relevant to potential claims and to take

reasonable efforts to preserve such data and/or evidence.
